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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND
                                 NORTHERN DIVISION
_______________________________________
 In the Matter of the Petition

             of

 GRACE OCEAN PRIVATE LIMITED, as
 Owner of the M/V DALI,                                          Docket No. JKB 24-cv-941

             and                                                 IN ADMIRALTY

 SYNERGY MARINE PTE LTD, as
 Manager of the M/V DALI,

 for Exoneration from or Limitation of
 Liability
_______________________________________

                          CLAIMANT DAMON DAVIS’ EMERGENCY
                           MOTION FOR PRETRIAL CONFERENCE

       COMES NOW Claimant Damon Davis (“Claimant”), by counsel William H. Murphy, Jr.,

Andrew K. O’Connell, Ronald E. Richardson and the law firm of Murphy, Falcon & Murphy, and

Jason P. Foster, and the Pence Law Firm PLLC, and, pursuant to Rule 16 of the Federal Rules of

Civil Procedure, states as follows in support of his Emergency Motion for Discovery Conference:

       1)         On April 12, 2024, counsel for Petitioners sent an email to counsel for various

interested parties (excerpts of which are attached hereto as Exhibit 1), stating, in pertinent part, as

follows: “1. Witnesses – We have already made clear that we fully intend for all crew members

to remain aboard the vessel for the foreseeable future and that, in the event it becomes necessary

for a crew member to leave the vessel that we will give everyone as much notice as possible so

that arrangements can be made to preserve their testimony.” (Bold in original, italics added).

       2)         On June 18, 2024, counsel for Petitioners sent an email to counsel for various

interested parties (attached hereto as Exhibit 2) stating that several members of the crew of the

                                                  1
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Dali were set to be released to their respective home countries “on or about June 20th” (the “Crew

Release Email”).

       2)      While counsel for certain interested parties were generally aware of the eventual

release of the Dali’s crew, the Crew Release Email was the first indication of the when the release

may occur.

       3)      In the Crew Release Email, Petitioners represented, among other things, that, in

anticipation of potential requests to depose crew members, “. . . we requested that USCG assist

with securing temporary parole from CBP following their replacement in order to allow the crew

members to briefly remain in the United States. USCG denied our request.” Id.

       4)      Upon information and belief, all of the crew members of the Dali are from either

India or Sri Lanka.

       5)      Upon information and belief, all of the crew members remain eligible to return to

their employment in the international maritime industry.

       6)      Rule 16(a) of the Federal Rules of Civil Procedure states, in pertinent part, that “[i]n

any action, the court may order the attorneys and any unrepresented parties to appear for one or

more pretrial conferences for such purposes as: (1) expediting disposition of the action;

(2) establishing early and continuing control so that the case will not be protracted because of lack

of management; . . . (4) improving the quality of the trial through more thorough preparation. . .”

       7)      According to Fed. R. Civ. Pro. 16(c)(2), “[a]t any pretrial conference, the court may

consider and take appropriate action on the following matters: . . . (F) controlling and scheduling

discovery, including orders affecting disclosures and discovery under Rule 26 and Rules 29

through 37; . . . (L) adopting special procedures for managing potentially difficult or protracted

actions that may involve complex issues, multiple parties, difficult legal questions, or unusual



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proof problems; . . . and (P) facilitating in other ways the just, speedy, and inexpensive disposition

of the action.”

        8)        Pursuant to Rule 16(d) of the Federal Rules of Civil Procedure, “[a]fter any

conference under this rule, the court should issue an order reciting the action taken. This order

controls the course of the action unless the court modifies it.”

        9)        In the present action, the return of the crew members of the Dali to their respective

home countries without a plan for their respective depositions presents numerous legal and

logistical issues that will exacerbate the inherent complexities and difficulties in this matter.

        WHEREFORE, Claimant respectfully requests that, in light of the fact that certain

members of the crew of the Dali may depart the United States as early as tomorrow and that the

Courts will be closed tomorrow in observance of Juneteenth: (1) the Court convene an emergency

conference call with all interested parties at 5:00 p.m., Eastern Standard Time, today; (2) that the

Court convene an emergency pretrial conference as soon as practicable thereafter; and (3) enjoin

any and all crew members of the Dali from the leaving the Court’s jurisdiction until such time that

the Court enters an Order addressing the matter of the scheduling of depositions of the crew of the

Dali.

        Dated this 18th day of June, 2024.



                                                DAMON DAVIS,

                                                By Counsel:


                                                     /s/ Andrew K. O’Connell
                                                William H. Murphy, Jr., Esq.
                                                Andrew K. O’Connell, Esq.
                                                Ronald E. Richardson, Esq.
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                             Jason P. Foster, Esq. (Pro hac vice admission
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                               CERTIFICATE OF SERVICE

      In compliance with Supplemental Federal Rule F(5), I HEREBY CERTIFY that on the 18th

day of June, 2024, I electronically filed the foregoing pleading with the Clerk of Court by using

the CM/ECF system which will send a notice of electronic filing to all counsel who are CM/ECF

participants.


                                                        /s/ Andrew K. O’Connell
                                                    Andrew K. O’Connell, Esq.
